                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 3:12-cv-608-FDW
                                3:09-cr-39-FDW-13

DARYL GIBBS,                           )
                                       )
               Petitioner,             )
           v.                          )
                                       )                          ORDER
UNITED STATES OF AMERICA,              )
                                       )
              Respondent.              )
______________________________________)

        THIS MATTER is before the Court on remand from the United States Court of

Appeals for the Fourth Circuit. (Doc. No. 14).

       On August 30, 2010, Petitioner was convicted on one count of conspiracy to distribute

and possess with intent to distribute one or more controlled substances, in violation of 21 U.S.C.

§§ 841(a)(1) & 846. Petitioner was sentenced to a mandatory minimum term of 240-months’

imprisonment. (3:09-cr-39, Doc. No. 455: Judgment). Petitioner filed a notice of appeal to the

Fourth Circuit which was dismissed on the Government’s motion. United States v. Gibbs, No.

10-4981 (4th Cir. filed Nov. 15, 2011). (Doc. No. 603).

       On September 14, 2012, Petitioner, through counsel, filed a motion to vacate, set aside or

correct sentence pursuant to 28 U.S.C. § 2255, contending that he is entitled to have his sentence

vacated because his sentence was enhanced by a previous North Carolina conviction which the

Fourth Circuit no longer defines as a felony. See United States v. Simmons, 649 F.3d 237, 243-

45 (4th Cir. 2011) (en banc). The Court denied relief after finding recent case law from the

Fourth Circuit, United States v. Powell, 691 F.3d 554, 559-60 (4th Cir. 2012), foreclosed relief



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from Petitioner’s sentence. See (3:12-cv-608, Doc. No. 2).1 Petitioner appealed to the Fourth

Circuit and the appeal was held in abeyance pending the Fourth Circuit’s resolution of Miller v.

United States, No. 13-6254 (4th Cir. 2013). On August 21, 2013, the Fourth Circuit published an

opinion in Miller concluding that the holding in Simmons was retroactive to cases on collateral

review. See Miller v. United States,            , F.3d     , 2013 WL 4441547 (4th Cir. 2013). On

November 1, 2013, the Fourth Circuit vacated this Court’s judgment in the § 2255 case and

granted the joint motion to remand, filed by the Government and Respondent, with directions to

reconsider Petitioner’s § 2255 motion to vacate in light of the holding in Miller. (Doc. No. 14).

On November 6, 2013, the Government filed a response in this Court noting its agreement that

Petitioner should be entitled to be resentenced based on, among other authority, the Fourth

Circuit’s decision in Miller.2 After having considered the record in this matter and the foregoing

authority, and noting the positions of the parties, the Court finds that Petitioner’s motion to

vacate his mandatory minimum sentence should be allowed.

         IT IS, THEREFORE ORDERED that:

         1.       Petitioner’s motion to vacate his mandatory minimum sentence under 28 U.S.C. §

2255 is GRANTED, but the Order vacating the sentence shall be stayed pending a resentencing

hearing.

         2.       All remaining provisions of Petitioner’s criminal judgment shall remain

unchanged pending further orders of this Court. (3:09-cr-39, Doc. No. 455).

         3.       Petitioner shall remain in the custody of the Federal Bureau of Prisons and/or the

United States Marshals Service pending a resentencing hearing.

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  The Court also denied Petitioner’s alternative claims for relief which were filed through counsel. (Doc. No. 9).
2
  The Government specifically declined to enforce Petitioner’s decision to waive his right to contest his sentence in
a collateral proceeding as provided for in his plea agreement. (Doc. No. 17 at 1).

                                                          2



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       4.      The U.S. Probation Office shall prepare a Supplemental Presentence Report in

advance of Petitioner’s resentencing hearing and file the same in the criminal case.

       5.      The Federal Defenders of Western North Carolina shall appoint counsel to

represent Petitioner for the purpose of the resentencing hearing.

       6.      The Clerk of Court shall writ the Petitioner back to the Western District of North

Carolina and docket a resentencing hearing.

       7.      The Clerk’s Office shall notify the Petitioner, the U.S. Attorney, the Federal

Defenders of Western North Carolina, the Federal Bureau of Prisons, the U.S. Marshals Service,

and the U.S. Probation Office of the date of the resentencing hearing.

       8.      The parties shall file sentencing memorandum no later than two (2) weeks prior to

the resentencing hearing.

       The Clerk of Court is directed to certify copies of this Order to the Petitioner, the Federal

Defenders of Western North Carolina, the U.S. Attorney, the Federal Bureau of Prisons, the U.S.

Marshals Service and the U.S. Probation Office.

       IT IS SO ORDERED.

                                                               Signed: November 8, 2013




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